USDC IN/ND case 2:97-cr-00168-JTM-JPK         document 586      filed 12/29/05    page 1 of 8


                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

 UNITED STATES OF AMERICA                 )
                                          )
                     v.                   )      No. 2:97 CR 168
                                          )
 LONNIE MAURICE FORD                      )

                                        ORDER

 I. BACKGROUND

       This matter is before the court on a motion filed by petitioner Lonnie Ford to

 modify his term of imprisonment. On January 19, 1999, a jury found Ford guilty of

 possession with intent to distribute cocaine, racketeering, and a firearm offense.

 (Verdict, docket # 286.) The Court of Appeals later affirmed his conviction. (Appeal

 Mandate, docket # 461.) Ford subsequently filed a motion to vacate his sentence under

 28 U.S.C. § 2255. (Motion Under § 2255, docket # 474-75.) The court denied that motion

 (Order, docket # 480), as well as Ford’s motion to reconsider the denial (Order, docket

 # 491). Ford then filed a motion purporting to be pursuant to FED. R. CRIM. P. 60(b)

 (Motion for Relief from J., docket # 531-32), which the court construed as a successive

 motion under § 2255 and denied for want of jurisdiction (Order, docket # 533).

       Ford has filed a motion to modify his sentence pursuant to 18 U.S.C. § 3582 and

 § 3553. (Docket # 546.) Ford has also filed a supplement to this motion. (Docket # 554.)

 After carefully reviewing Ford’s filings and the applicable law, the court finds the

 arguments set forth in the motion to be meritless.
USDC IN/ND case 2:97-cr-00168-JTM-JPK           document 586       filed 12/29/05    page 2 of 8


 II. ANALYSIS

        Ford argues that his sentence should be reduced on essentially four grounds: (1)

 Amendment 505 to the sentencing guidelines; (2) Amendment 591 to the sentencing

 guidelines; (3) mitigating circumstances; and (4) due to United States v. Booker, 543 U.S.

 220 (2005). The court addresses each of these in turn below, though not necessarily in

 the order that they were presented by Ford.

        As a preliminary matter, the court notes that although Ford cites numerous

 subsections of both § 3582 and § 3553 as grounds for relief, only one section is relevant

 to this case. Ford points to § 3553(a), § 3553(b), § 3582(a), and § 3582(c)(2) as vehicles for

 a reduction of his sentence. First, § 3553 is entitled “Imposition of a Sentence,” and each

 one of its provisions discusses steps a court should take or issues a court ought to

 consider when originally formulating the ultimate sentence to be imposed on a

 particular individual for a particular crime. Thus, both sections of § 3553 concern only

 the initial formulation of a term of imprisonment, and not the modification of a sentence

 imposed several years ago. Section 3582(a), entitled “Factors to be considered in

 imposing a term of imprisonment” is similarly irrelevant in this case, as it only provides

 guidance for the initial imposition of a sentence. Only § 3582(c)(2), entitled

 “Modification of an imposed term of imprisonment,” is applicable to Ford’s situation.

 Accordingly, the court’s discussion is limited to whether Ford’s sentence should be

 reduced pursuant to § 3582(c)(2).




                                               2
USDC IN/ND case 2:97-cr-00168-JTM-JPK          document 586      filed 12/29/05      page 3 of 8


        A. Amendment 505

        Ford argues that Amendment 505, which sets an upper limit of the drug quantity

 table in USSG § 2D1.1 at level 38, provides a basis for a reduction of his sentence. Ford

 claims that he was sentenced in accordance with a total offense level of 40, in violation

 of Amendment 505. As a preliminary matter, the court notes that while Ford’s total

 offense level was 40, this was the result of a two-point enhancement for his role as a

 leader of criminal activity. (Sentencing Trans. 25.) His offense level based on quantity

 alone was within the limitations of Amendment 505.

        Nevertheless, Ford’s argument fails for a second reason. Reduction of a sentence

 pursuant to § 3582(c)(2) is only proper “[w]here a defendant is serving a term of

 imprisonment, and the guideline range applicable to that defendant has subsequently been

 lowered as a result of an amendment to the Guidelines Manual listed in subsection (c)

 below.” USSG § 1B1.10(a) (emphasis added). The effective date of Amendment 505 was

 November 1, 1994. USSG App. C, vol. I, at 417. Ford was sentenced on October 13, 1999.

 (Docket # 432.) Thus, Amendment 505 was already in effect for Ford’s sentencing.

 Because Ford was not serving a term of imprisonment when Amendment 505 took

 effect in 1994, it did not operate to subsequently lower the guideline range applicable to

 him. Accordingly, Ford’s argument that his sentence should be reduced in light of

 Amendment 505, which was already in effect when he was sentenced, is without merit.

 See United States v. Dodd, No. 2:96 CR 153, 2003 WL 23319651, at *2 (E.D. Va. March 18,

 2003) (“A collateral motion under § 3582(c)(2) will not lie when a particular amendment,


                                              3
USDC IN/ND case 2:97-cr-00168-JTM-JPK          document 586      filed 12/29/05    page 4 of 8


 though it lowers the sentencing range, took effect prior to the date on which a federal

 inmate was sentenced. Presumably in such cases the beneficial effect of a previously

 adopted amendment is simply applied to the guidelines calculations when the federal

 convict is sentenced. This is the reason that the Defendant's amendment 505 argument

 fails.”).



         B. Amendment 591

         In a supplement to his motion under § 3582 and § 3553 (docket # 554), Ford

 claims that Amendment 591 provides another vehicle by which his sentence should be

 reduced. Amendment 591, made effective November 1, 2000, was not in effect when

 Ford was initially sentenced. It also does appear on the list of retroactively applicable

 sentencing guideline amendments set forth in USSG § 1B1.10(c), making it available for

 consideration in conjunction with § 3582(c)(2). Nonetheless, Amendment 591 has no

 bearing on Ford’s case.

         The court begins by reviewing the first three steps1 of the procedure the court

 uses to determine a defendant’s sentence using the Sentencing Guidelines Manual.

 Section 1B1.1 of the manual, entitled “Application Instructions,” provides the step-by-

 step process for determining a defendant’s sentence. The first step is to determine the

 offense guidelines of Chapter Two applicable to the defendant. Section 1B1.2 provides



         1
          While the full procedure for determining a sentence includes many more than
 three steps, only the first three are relevant to this discussion.

                                              4
USDC IN/ND case 2:97-cr-00168-JTM-JPK           document 586      filed 12/29/05    page 5 of 8


 additional assistance with this step, by instructing the court to utilize the Statutory

 Index (found in Appendix A) to locate the statute that a defendant has been found

 guilty of violating; the Statutory Index then directs the court to a particular offense

 guideline section located in Chapter Two of the manual. The second step is to use that

 guideline section of Chapter Two to determine the defendant’s base offense level. The

 third step is to apply any appropriate adjustments from relevant sections of Chapter

 Three.

          Prior to Amendment 591, the circuit courts were conflicted as to whether, in

 completing the first step, a court could use a defendant’s conduct, rather than the

 Statutory Index organized by offense of conviction, to determine which guideline section

 of Chapter Two to apply. For example, some courts were applying the guidelines set

 forth in § 2D1.2 (Drug Offenses Occurring Near Protected Locations or Involving

 Underage or Pregnant Individuals) when there existed underlying facts indicating that

 the defendant involved a juvenile in a drug sale, even though the Statutory Index entry

 for the offense the defendant was actually convicted of did not direct the court to use

 § 2D1.2. As explained in the comments accompanying Amendment 591, the amendment

 adjusted the language of § 1B1.1 and § 1B1.2 to make clear that a court “must apply the

 offense guideline referenced in the Statutory Index for the statute of conviction,” unless

 a limited exception applied. USSG App. C, vol. II, at 31.

          Ford claims that, even though he was not convicted of engaging in a conspiracy,

 the court used his conduct (the fact that he was a leader in a criminal activity) to


                                              5
USDC IN/ND case 2:97-cr-00168-JTM-JPK           document 586      filed 12/29/05    page 6 of 8


 enhance his sentence under § 3B1.1(c), and that Amendment 591 makes such an

 enhancement improper. Ford’s understanding of Amendment 591 is misguided.

 Amendment 591 only clarifies how a court is to go about selecting the appropriate

 offense guideline section of Chapter Two, which will subsequently assist the court in

 calculating a defendant’s base offense level. The enhancement Ford objects to, set forth

 in § 3B1.1(c), is applied as part of step three, only after the appropriate offense guideline

 section of Chapter Two has been selected, and from that section the base offense level

 has been determined. Amendment 591 in no way affects the application of Chapter

 Three enhancements like the one set forth in § 3B1.1.(c). Because Amendment 591 has

 no bearing on Ford’s § 3B1.1(c) enhancement, his argument on this issue is without

 merit.



          C. Mitigating Circumstances

          Ford also argues that his sentence should be reduced pursuant to § 3553(b) due

 to mitigating circumstances. In support of this argument, Ford has attached numerous

 awards and certificates of achievement that he has received while imprisoned, which

 recognize his efforts in furthering his education and developing practical skills. (Pet.’s

 Mot., docket # 546, at 13-25.) While one might consider Ford’s achievements admirable,

 they are not a proper basis for a reduction of a sentence already imposed. As explained

 above, § 3553(b) is relevant only during the court’s initial imposition of a sentence, and

 does not provide a mechanism for reducing a sentence already in place.


                                               6
USDC IN/ND case 2:97-cr-00168-JTM-JPK           document 586      filed 12/29/05    page 7 of 8




        D. United States v. Booker

        Finally, Ford argues at various points in his motion that his sentence was

 improperly imposed under United States v. Booker, 543 U.S. 220 (2005), because the court

 employed facts to raise Ford’s sentence beyond the statutory maximum that were not

 found by a jury beyond a reasonable doubt. (Pet.’s Mot., docket # 546, at 5-6, 8-9.) For

 the sake of convenience, the court addresses all of Ford’s arguments relating to Booker

 together below.

        As a preliminary note, the court is unable relieve Ford of the limitations and

 parameters of § 3582 and § 3553 by reviewing Ford’s Booker arguments under the guise

 of § 2255. Though the substance of Ford’s Booker argument is within the scope of § 2255,

 and should therefore be construed as having been made under § 2255, Melton v. United

 States, 359 F.3d 855, 857 (7th Cir. 2004), Ford has already filed a § 2255 petition (docket

 # 474-75). The court denied that petition (docket # 480), as well as Ford’s motion to

 reconsider that denial (docket # 491). The Court of Appeals has not certified Ford’s

 present motion as a second petition under § 2255 ¶ 8. Accordingly, Ford’s Booker

 arguments have a chance of success only in the context of § 3582 or § 3553.

        Unfortunately, the Booker decision cannot provide Ford any relief via § 3582 or

 § 3553. As described above, the substance of both sections provide only one mechanism

 for modification of a sentence that has already been imposed: § 3582(c)(2). That provision

 provides for reduction of a sentence only when consistent with the applicable


                                               7
USDC IN/ND case 2:97-cr-00168-JTM-JPK          document 586      filed 12/29/05    page 8 of 8


 Sentencing Commission policy statement, USSG § 1B1.10. Section 1B1.10(c) provides the

 exclusive list of retroactively applicable amendments which trigger eligibility for

 consideration under § 3582(c)(2). The Supreme Court’s decision in Booker is not one of

 these amendments. Ford, perhaps aware of this fact, argues that the holding in Booker

 “in its self can be taken as an amendment to the United States Sentencing Guidlines

 which should be a vehicle to receive a reduction in ones sentence pursuant to 18 U.S.C.

 §3582(c)(2).” (Pet.’s Mot., docket # 546, at 6.) However, the court does not have the

 power to thwart Congress’ decision to offer relief under § 3582(c)(2) only in the context

 of a retroactively applicable amendment listed in USSG § 1B1.10(c). Therefore, Booker

 provides no basis for relief under § 3582(c)(2), or any subsection of § 3582 or § 3553.



 III. CONCLUSION

        For the foregoing reasons, the court finds that Ford is not entitled to a reduction

 of his sentence pursuant to 18 U.S.C. § 3553 or § 3582. Ford’s motion to amend (docket

 # 554) is GRANTED. Ford’s motion to modify his sentence (docket # 546) is DENIED.


                                           SO ORDERED.
        ENTER: December 29, 2005

                                           s/ James T. Moody
                                           JUDGE JAMES T. MOODY
                                           UNITED STATES DISTRICT COURT
